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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION


VIRTUAL IMMERSION
TECHNOLOGIES LLC,
                                                              Civ. No. 6:20-cv-611
                Plaintiff,

       v.
                                                              JURY TRIAL DEMANDED
SKANSKA AB AND SKANSKA USA
BUILDING INC.

                Defendants.


                       COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff Virtual Immersion Technologies LLC (“VIT” or “Plaintiff”), by and through its

attorneys, hereby alleges for its Complaint on personal knowledge as to its own activities and on

information and belief as to all other matters, as follows:

                                  NATURE OF THE ACTION

       1.       This is an action for patent infringement arising under the Patent Laws of the

United States, 35 U.S.C. § 1 et seq.

                                          THE PARTIES

       2.       Plaintiff Virtual Immersion Technologies LLC is a limited liability company

organized under the laws of the State of Texas.

       3.       VIT is the current assignee of United States Patent No. 6,409,599 (“the ’599

patent” or “the patent-in-suit.”) On June 25, 2002, the United States Patent and Trademark

Office duly and legally issued the ’599 patent. The ’599 patent is titled “Interactive Virtual

Reality Performance Theater Entertainment System.” The application leading to the ’599 patent



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was filed on July 19, 1999. A true and correct copy of the ’599 patent is attached hereto as

Exhibit A.

        4.       On or around February 24, 2016, VIT acquired 100% ownership of all right, title

and interest in the patent-in-suit, including the right to bring patent enforcement actions for

damages accruing prior to February 24, 2016. The assignment to VIT of ownership of the

patent-in-suit was recorded with the United States Patent & Trademark Office (“PTO”) on or

around August 26, 2016.

        5.       Defendant Skanska AB is a foreign corporation having its principal place of

business at Warfvinges väg 25, 112 74 Stockholm, Sweden. Skanska AB makes use of virtual

and augmented reality technologies worldwide, including in the United States.

        6.       Defendant Skanska USA Building Inc. (“Skanska USA”) is a corporation

organized and existing under the laws of the State of Delaware, with its principal place of

business at 350 Fifth Avenue, 32nd Floor, New York, NY 10118. Upon information and belief,

Skanska USA is a wholly owned subsidiary of Skanska AB. Skanska USA has a regular and

established place of business in this District located at 18615 Tuscany Stone, Suite 245, San

Antonio, Texas 78258 and has committed and continues to commit acts of infringement within

this District.

        7.       Skanska USA is a subsidiary of Skanska AB. Both defendants, Skanska USA and

Skanska AB (collectively referred to as “Skanska” or “Defendants”) act in concert regarding the

allegations set forth in this Complaint and, therefore, the conducts described herein are fairly

attributable to either or both entities.




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                                  JURISDICTION AND VENUE

        8.       This is an action for patent infringement arising under the patent laws of the

United States, Title 35, United States Code. Jurisdiction as to these claims is conferred on this

Court by 35 U.S.C. §§ 1331 and 1338(a).

        9.       Venue with respect to Defendant Skanska AB is proper in this District under 28

U.S.C. § 1391(c)(3) because Defendant Skanska AB is not a resident of the United States, and

that venue is proper as to a foreign defendant in any district. See In re HTC Corp., Appeal No.

2018-130 (Fed. Cir. 2018). Also, under 28 U.S.C. § 1391(b)(2), venue is proper because

Skanska AB, imports, sells and offers to sell products and services throughout the United States,

including in this District, and introduces products and services into the stream of commerce and

effectuates these sales knowing that the products and services would be sold in this District and

elsewhere in the United States.

        10.      This Court has personal jurisdiction over Skanska AB. Skanska AB is amenable

to service of summons for this action. Defendant Skanska AB has sought protection and benefit

from the laws of the State of Texas by maintaining one or more of its United States affiliates

(Defendant Skanska USA) in this District and/or by placing infringing products and services into

the stream of commerce through an established distribution channel with the awareness and/or

intent that they will be purchased by consumers in this District.

        11.      Skanska AB – directly or through intermediaries (including distributors, retailers,

and others), subsidiaries, alter egos, and/or agents – ships, distributes, offers for sale, and/or sells

its products and services in the United States and this District. Skanska AB has purposefully and

voluntarily placed one or more of its infringing products into the stream of commerce with the

awareness and/or intent that they will be purchased by consumers in this District. Skanska AB

knowingly and purposefully ships infringing products into and within this District through an
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established distribution channel. These infringing products have been and continue to be

purchased by consumers in this District. Upon information and belief, through those activities,

Skanska AB has committed the tort of patent infringement in this District.

       12.     On information and belief, Defendant Skanska AB is subject to this Court’s

general and specific personal jurisdiction because Skanska AB has sufficient minimum contacts

within Texas and this District, because Defendant Skanska AB purposefully availed itself of the

privileges of conducting business in Texas and in this District, because Defendant Skanska AB

regularly conducts and solicits business within Texas and within this District, and because

Plaintiff’s causes of action arise directly from Defendant Skanska AB’s business contacts and

other activities in Texas and this District. Having purposefully availed itself of the privilege of

conducting business within this District, Defendant Skanska AB should reasonably and fairly

anticipate being brought into court here.

       13.     Regarding Defendant Skanska USA, venue is proper within this District under 28

U.S.C. § 1400(b) because, on information and belief, Skanska USA maintains a regular and

established place of business in this District and has committed infringing acts in this District.

       14.     Upon information and belief, Skanska USA is subject to this Court’s general and

specific personal jurisdiction because it has sufficient minimum contacts within the State of

Texas and this District, pursuant to due process and/or the Texas Long-Arm Statute, because

Defendant Skanska USA purposefully availed itself of the privileges of conducting business in

the State of Texas and in this District, because Skanska USA regularly conducts and solicits

business within the State of Texas and within this District, and because Plaintiff’s causes of

action arise directly from Skanska USA’s business contacts and other activities in the State of

Texas and this District. Having purposefully availed itself of the privilege of conducting



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business within this District, Skanska USA should reasonably and fairly anticipate being brought

into court here.

        15.     Upon information and belief, Defendant Skanska USA maintains at least one

regular and established place of business in this District: at least part or all of a regional office in

this District (the “Texas Office.”) (See source: https://www.usa.skanska.com/who-we-

are/contact-us/skanska-offices/san-antonio-tx/; last accessed and downloaded July 6, 2020.) The

Texas Office is located at 18615 Tuscany Stone, Suite 245, San Antonio, Texas 78258 within

Bexar County in this District. (Id.)

        16.     Currently, the Texas Office is publicly associated with Skanska USA. (Id.)

Based at least on these facts, the Texas Office in San Antonio, Texas is believed to be a regular

and established place of business that is associated directly with Skanska USA.

        17.     Skanska USA has committed and continues to commit acts of infringement within

the state of Texas, as alleged herein.

        18.     Skanska USA is utilizing virtual reality to increase safety, enhance

communication, minimize waste and promote cleaner jobsites, lower costs and optimize

schedules, strengthen collaboration, reduce risk, improve quality, and enhance lifecycle

management. (Source: https://www.usa.skanska.com/what-we-deliver/services/innovation/vdc--

bim/value-to-clients/, last accessed and downloaded July 6, 2020.) For example, Skanska USA

realizes these benefits through the use of VR/AR headsets which has virtual reality functionality.

(Source: See id.; and see also

https://www.bizjournals.com/sanantonio/news/2018/06/06/skanska-demos-construction-tech-

being-tested-in.html#g/436019/2;

https://www.bizjournals.com/sanantonio/news/2018/06/06/skanska-demos-construction-tech-



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being-tested-in.html; and https://www.usa.skanska.com/what-we-

deliver/services/innovation/immersive-experiences/; all last accessed and downloaded July 6,

2020.) On information and belief, Skanska USA uses and develops these virtual reality

technologies within the state of Texas and this District. (Source: See

http://www.thebluebook.com/iProView/1024045/#productsServices;

https://www.usa.skanska.com/what-we-deliver/services/innovation/vdc--bim/;

https://www.usa.skanska.com/what-we-deliver/services/innovation/vdc--bim/value-to-clients/;

and https://www.usa.skanska.com/what-we-deliver/services/innovation/immersive-experiences/,

last accessed and downloaded July 6, 2020.)

         19.   Therefore, because Skanska USA emphasizes its offering and benefits of virtual

technologies for its business, uses and develops these technologies within this District, and

maintains its presence in this District through its Texas Office, Skanska USA has committed and

continues to commit acts of infringement within the state of Texas and this District.

         20.   As previously stated, Defendants currently use virtual and augmented reality

systems. (Source: https://www.usa.skanska.com/what-we-

deliver/services/innovation/immersive-experiences/; and https://www.usa.skanska.com/what-we-

deliver/services/innovation/vdc--bim/, last accessed and downloaded July 6, 2020.) This

technology includes an immersive virtual reality environment where participants and live

performers can interact with each other and the environment via input and output devices for the

performers and the participants. (See VIT’s Claim Chart for claim 9 of the ʼ599 patent, Ex. B at

1-14.)




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        21.      As detailed in the paragraphs below, Defendants utilize a virtual reality system

and practice method for participants and performers to interact in an immersive virtual reality

environment, which meets all the features of the asserted claim. (Id. at 1-14.)

        22.      The Defendants’ method includes providing at least one performer input and

output devices in electronic communication with the virtual environment and one or more

participant input and output devices in electronic communication with the virtual environment.

(Id. at 3-10.)

        23.      Defendants’ method provides the virtual environment, which includes a video

image of one or more live performers with audio communication between the one or more live

performers and one or more participants. (Id. at 10-12.)

        24.      In the Defendants’ method, the one or more participants interact with the one or

more live performers and the virtual environment resulting in an experience partially controlled

by the one or more participants using an input device. (Id. at 13-14.)

        25.      Defendants have derived substantial revenues from its infringing acts, including

those of Skanska occurring within Texas, including in this District.

        26.      Skanska USA is subject to the Court’s personal jurisdiction at least due to its

utilization of the virtual reality system within Texas, including in this District.

        27.      Skanska USA has committed such purposeful acts or transactions in Texas and

this District such that it reasonably should know and expect that it could be haled into court in

this State because of such activities.

        28.      As detailed in the paragraphs below, Skanska supports the creation, maintenance

and utilization of an immersive virtual reality system and practice method, which permits live

performers and participants to interact with each other and the environment in the United States,



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including those infringing actions of Skanska USA occurring within the state of Texas, including

in this District.

        29.         This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1338(a).

        30.         Therefore, venue is proper in this district under 28 U.S.C. § 1400(b) with respect

to Defendant Skanska USA. Defendant Skanska USA maintains a regular and established place

of business in this District and has committed infringing acts in this District.

        31.     For the above reasons, personal jurisdiction exists and venue is proper in this

Court for Defendants Skanska AB and Skanska USA.

                                                  COUNT I
           PATENT INFRINGEMENT OF UNITED STATES PATENT NO. 6,409,599

        32.         Plaintiff incorporates the above paragraphs herein by reference.

        33.         The ’599 patent relates to a system and practice method in which participants

interact with a computerized environment in addition to live and/or pre-recorded performers.

(See Ex. A at 1:20-23.)1 The ’599 patent describes and enables immersive interactive virtual

reality computer systems in which participants interact with a virtual reality environment and

live performers using a variety of immersion and input devices.” (Id. at 1:23-26.)

        34.         The claims of the ’599 patent are directed to tangible embodiments. Claim 9, for

example, is a method claim, which clearly requires providing several input/output devices in

electronic communication with an immersive virtual reality environment. (Id. at 18:61-20:12.)

        35.         The claims of the ’599 patent are directed at providing a unique computing

solution that addresses a problem particular to computerized virtual reality systems—providing



1
 Citations to patents in this Complaint refer to columns and lines within columns of any cited
patent. For example, the citation referenced by this footnote refers to column 1, at lines 20
through 23, in the ’599 patent.
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an immersive interactive virtual reality system in which there exists three-way communication

among and between participants, live performers and the virtual reality environment. (Id. at

3:24-27.)

       36.      Providing an immersive interactive virtual reality system with three-way

communication in the manner claimed in the ’599 patent solved new challenges over the

techniques and systems known in the art at the time. Thus, the claims of the ’599 patent contain

inventive concepts, being both novel and unconventional, which are sufficient to render the ’599

patent claims to be patent-eligible.

       37.      Prior to the priority date of the ’599 patent, in systems, such as traditional virtual

reality systems, figures or objects not controlled by participants moved autonomously or, if a

participant had an opportunity to interact with such objects in the virtual reality environment, the

objects were limited to computer generated images and not live performers. (Id. at 1:57-67.)

       38.      Groups of participants have been entertained by graphically enhanced performers

on stage or television. However, these instances occurred through non-immersion mediums

without the enhancements of immersion-type devices or methods. (Id. at 2:5-9.)

       39.      Early entertainment systems, which allowed participants to interact with a host

and an environment using some input device, did not operate within an immersive virtual reality

environment and therefore lacked its immersive effects and their impact on participants. (Id. at

2:40-47.)

       40.      The ʼ599 patent overcame these disadvantages by, for example, describing and

enabling a system and method for delivering information “which provides three-way immersive

interactive communication amongst and between” participants, an immersive environment and

live performers. (Id. at 2:55-57.)



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       41.     The inventors of the claimed invention in the ’599 patent changed the focus from

an interaction between individual participants and computer-generated graphical objects within a

virtual reality environment to a three-way communication amongst and between participants, live

or pre-recorded performers, and an immersive virtual reality environment. (Id. at 3:11-17.)

The inclusion of three-way communication results in a synergistic effect, which creates an

unparalleled experience. (Id. at 3:18-22.)

       42.    Furthermore, the claimed invention of the ’599 patent represents an intrinsic

improvement to the underlying computer technology involved. The claimed system includes a

variety of audio and video components. (See, e.g., claim 1 of the ’599 patent.) The variety of

audio and video components enable innovative mixing and switching techniques which allows

the system to present to each of the participants a virtual reality environment in which a live

representation of the performers is superimposed within the environment. (Id. at 4:5-9.) The

participants are able to view and interact with a novel display of both graphical data and live

representations for an exciting experience. (Id. at 4:9-12.)

       43.     The inventors of the ’599 patent took considerable personal risks to nurture and

prove out the technology systems described in the ’599 patent, contributing substantially to

today’s virtual reality industry explosion.

       44.     The inventors of the ’599 patent have utilized the technology described by the

’599 patent for more than ten years, shipping virtual reality systems to five continents and

entertaining or educating an estimated 30 million people worldwide with their immersive virtual

reality live theater attractions and promotions.

       45.     The virtual reality theater technology created by the inventors has been

recognized and awarded on an international scale, the products winning “Best New Product” and



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“Best of Show” at the International Association of Amusement Parks and Attractions global

convention in Atlanta in November 2000, and again for ‘Best of Show’ in 2002 in Orlando, as

well as national awards for graphics and creativity in the Print Media industry. The products and

concepts have garnered dozens of feature articles in news media promoting clients and their

products in a variety of industries.

       46.     The inventors of the ’599 patent continue to have a direct interest in activities

related to the ’599 patent, working closely with Plaintiff to identify and evaluate entities making

use of the technology claimed by the ’599 patent without permission or license thereto.

       47.     The inventions of the ’599 patent resolve technical problems related to virtualized

interactive technology. For example, the inventions allow parties to interact in a virtual

environment in real time with one or more live performers and participants, which, on

information and belief, is exclusively implemented using computer technology.

       48.     The claims of the ’599 patent do not merely recite the performance of some

method known from the pre-Internet world along with the requirement to perform it on the

Internet. Instead, the claims of the ’599 patent recite inventive concepts that are rooted in

computerized virtual reality technology, and overcome problems specifically arising in the realm

of computerized virtual reality technologies.

       49.     The claims of the ’599 patent recite an invention that is not merely the routine or

conventional use of computerized communication technology. Instead, the invention makes it

possible to interact with one or more live performers and/or participants in a virtualized

environment, which does not require the physical presence of either the one or more performers,

or participants in order for such interactions to take place. The ’599 patent claims thus specify




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how communication input, output, and system devices are manipulated to yield a virtual,

interactive experience controlled in part by one or more participants.

       50.     The technology claimed in the ’599 patent does not preempt all ways of using

interactive communications technology, nor preempt the use of any well-known communications

technology, nor preempt any other well-known or prior art technology.

       51.     The ʼ599 patent claims are not directed to any “method of organizing human

activity,” “fundamental economic practice long prevalent in our system of commerce,” nor are

any of the claims “a building block of the modern economy.”

       52.     The ʼ599 patent does not take a well-known or established business method or

process and “apply it to a general purpose computer.” Instead, the specific systems and

processes described in the ʼ599 patent have no direct corollary to a process that predates the

advent of the Internet.

       53.     The ʼ599 patent claims are directed toward a solution rooted in computer

technology and uses technology, unique to computers and networks, to overcome a problem

specifically arising in the realm of computerized virtual reality technologies.

       54.     The ʼ599 patent claims are not directed at a mere mathematical relationship or

formula.

       55.     The ʼ599 patent claims cannot be performed by a human, in the human mind, or

by pen and paper.

       56.      Accordingly, each claim of the ’599 patent recites a combination of elements

sufficient to ensure that the claim in practice amounts to significantly more than a patent on an

ineligible concept.




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       57.     Upon information and belief, Skanska directly infringes and continues to directly

infringe at least claim 9 of the ’599 patent, in the United States, under 35 U.S.C. § 271(a) by

making, using, selling, offering to sell, importing and/or providing and/or causing to be used an

interactive, real time, virtual reality systems system and its practice method (See Skanska is

utilizing augmented reality to increase safety, enhance communication, minimize waste and

promote cleaner jobsites, lower costs and optimize schedules, strengthen collaboration, reduce

risk, improve quality, and enhance lifecycle management, source:

https://www.usa.skanska.com/what-we-deliver/services/innovation/vdc--bim/value-to-clients/,

last accessed and downloaded July 6, 2020), along with related systems and software for access

and use of such systems and methods (the “Accused Instrumentalities”) as in claim 9 of the ’599

patent. (See VIT’s Claim Chart for claim 9 of the ’599 patent, Ex. B at 1-14.)

       58.     On information and belief, Defendants Skanska are a for-profit organization with

revenues of approximately $18 billion U.S.D. per year. Moreover, Skanska, its employees

and/or agents make, use, sell, offer to sell, import, and/or provide and/or cause to be used the

Accused Instrumentalities for Defendant’s partners and customers, leading to direct or indirect

revenues and profit. As one example of indirect profit, Skanska utilizes the system to reduce

costs by increasing the speed of design and project time. On information and belief, without the

availability of infringing tools such as the Accused Instrumentalities, Defendants would be at a

disadvantage in the marketplace and would generate less revenue and profit overall.

       59.     In particular, claim 9 of the ’599 patent generally recites a method of providing

interactive communications between participants and performers comprising the steps of

providing an immersive virtual reality environment; providing performer and participant input

and output devices in communication with the immersive virtual reality environment; having the



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live performer interact with the participant and immersive virtual reality environment by

including a live or prerecorded image of the live performer and audio communication between

the live performer and the participant or between the participant and live performer or both;

having the participant interact with the live performer producing an experience controlled by the

participant and participant input device. (Id. at 4-14.)

       60.     Skanska provides a method of providing interactive communications between

participants and performers. (Id. at 4-5.)

       61.     The method provided by Skanska includes providing an immersive virtual reality

environment. (Id. at 5-6.)

       62.     Skanska’s method also includes providing at least one performer input device in

electronic communication with said immersive virtual reality environment. (Id. at 7.)

       63.     Skanska’s method further includes providing at least one participant input device

in electronic communication with said immersive virtual reality environment. (Id. at 7-9.)

       64.     Additionally, Skanska’s method includes providing at least one performer output

device in electronic communication with said immersive virtual reality environment. (Id. at 9-

10.)

       65.     Defendants’ method also includes providing at least one participant output device

in electronic communication with said immersive virtual reality environment. (Id. at 10.)

       66.     The method provided by Skanska also includes having at least one live performer

interact with at least one participant and said immersive virtual reality environment, by including

with said virtual reality environment a live or prerecorded video image of said at least one live

performer and audio communication between said at least one live performer and said at least




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one participant, or between said at least one participant and said at least one live performer, or

both. (Id. at 10-12.)

        67.     Skanska’s method also includes having at least one participant interact with at

least one such live performer and said immersive virtual reality environment, thereby resulting in

an experience which is in part controlled by said at least one participant and said at least one

participant input device. (Id. at 13-14.)

        68.     Defendants were made aware of the ’599 patent and its infringement thereof at

least as early as the filing and service of this Complaint. Despite Plaintiff’s notice to Skanska by

this Complaint regarding the ʼ599 patent, the Defendants continue to infringe the ʼ599 patent.

        69.     Upon information and belief, since at least the time it received notice by this

Complaint, Skanska’s infringement has been and continues to be willful.

        70.     Plaintiff VIT has been harmed by each of Skanska’s infringing activities with

respect to the ʼ599 patent.

        71.     VIT reserves the right to modify its infringement theories as discovery progresses

in this case. It shall not be estopped for purposes of its infringement contentions or its claim

constructions by the claim charts it provides with this Complaint. VIT intends the claim chart

(Exhibit B) for the ’599 patent to satisfy the notice requirements of Rule 8(a)(2) of the Federal

Rule of Civil Procedure. The claim chart is not VIT’s preliminary or final infringement

contentions or preliminary or final claim construction positions.

                                            JURY DEMAND

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff demands a trial by

jury on all issues triable as such.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff demands judgment for itself and against Defendants as follows:

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        A.      An adjudication that Defendants have infringed the ’599 patent;

        B.      An award of damages to be paid by Defendants adequate to compensate Plaintiff

for Defendants’ past infringement of the ’599 patent, and any continuing or future infringement

through the date such judgment is entered, including interest, costs, expenses and an accounting

of all infringing acts including, but not limited to, those acts not presented at trial;

        C.      A declaration that this case is exceptional under 35 U.S.C. § 285, and an award of

Plaintiff’s reasonable attorneys’ fees; and

        D.      An award to Plaintiff of such further relief at law or in equity as the Court deems

just and proper.


Dated: July 6, 2020                            DEVLIN LAW FIRM LLC


                                               /s/ Alex Chan
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